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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  HAYSTACKS LLC, a foreign limited
  liability company,

        Defendant.
  ______________________________________/

                                             COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant

  HAYSTACKS LLC, a foreign limited liability company, and alleges as follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This is also an action for declaratory and injunctive relief, damages, attorney’s fees, costs,

  and expenses for lawful discrimination in violation of the Rehabilitation Act of 1973, 29 U.S.C.

  §794, et seq. (“Rehab Act”).

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

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  §12101 (“ADAAA”), and is a qualified individual with a disability as defined by the Rehab Act.

  Plaintiff also is expressly authorized to bring this case as an otherwise qualified person with a

  disability under the Rehab Act, 29 U.S.C. §§794(a)(2) and 794(b)(3)(A), and under Section 505-f

  of the Rehab Act which enforces Section 504 of the Rehab Act, 29 U.S.C. §§794 and 794a,

  incorporating the rights and remedies set forth in Title VI of the Civil Rights Act of 1964, 42

  U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  Because of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and has limited use of his left hand. Further, because of his disease, Plaintiff has

  developed optic neuritis and is visually disabled, with complete blindness in one eye and limited

  vision in the other eye. Plaintiff thus is substantially limited in performing one or more major life

  activities, including, but not limited to, sight, accurately visualizing his world, and adequately

  traversing obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C.

  §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and

  in 42 U.S.C. §3602(h). Plaintiff is also an otherwise qualified individual with a disability who has

  been denied the benefits of a program or activity receiving federal financial assistance and is thus

  covered by the Rehab Act, 29 U.S.C. §794(a).

         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent. At

  a rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when



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  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory—rather than visual—cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word

  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

            7.   Defendant is a foreign limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns and operates a chain of retail clothing

  stores, including one of the stores Plaintiff has patronized in the past and intends to patronize in

  the near future at 401 East Atlantic Avenue, Delray Beach, Florida. Defendant also owns, leases,

  leases to, or operates a business in Palm Beach County, Florida that is the recipient of federal

  financial assistance issued to the company and its operations as a whole. See Exhibit “A” attached

  hereto.

            8.   Plaintiff’s visual disability limits his performance of major life activities, including

  sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

            9.   Plaintiff frequently accesses the internet. Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.



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         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates a chain of retail clothing stores under the name “Haystacks.” The Haystacks stores

  are open to the public. As the owner and operator of these retail stores, Defendant is defined as a

  place of “public accommodation” within the meaning of Title III because Defendant is a private

  entity which owns and/or operates “[A] bakery, grocery store, clothing store, hardware store,

  shopping center, or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R.

  §36.104(2).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA and its

  implementing regulations, 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://www.haystacks.net (hereinafter the “Website”). One of the functions of the Website is to

  provide the public information on the locations of Defendant’s stores that sell its merchandise

  throughout the United States and within the State of Florida. Defendant also sells to the public its

  merchandise through the Website, which at all relevant times acts as a point of sale for the

  merchandise that is also available for purchase in Defendant’s physical stores.

         13.     The Website also services Defendant’s physical stores by providing information on

  their available merchandise, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise that is also available for purchase

  in and through the physical stores, and sign up for an electronic emailer to receive exclusive online

  offers, benefits, invitations, and discounts for use both online and in the physical stores, the



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  Website is an extension of, gateway to, and necessary service, privilege, and advantage of

  Defendant’s physical stores, which are places of public accommodation under the ADA. As an

  extension of and necessary service, privilege, and advantage provided by a place of public

  accommodation as defined under the ADA, the Website is an extension of the services, privileges,

  and advantages made available to the general public by Defendant at and through its brick-and-

  mortar locations and businesses. Furthermore, the Website is a necessary service and privilege of

  Defendant’s physical stores in that, as a point of sale for Defendant’s stores, it enables users of the

  Website to make online purchases of merchandise from Defendant available in its network of

  physical stores, but not necessarily the particular physical store that Plaintiff intended to patronize.

          15.     Because the public can view and purchase Defendant’s merchandise through the

  Website that is also offered for sale in Defendant’s physical stores, thus having the Website act as

  a point of sale for Defendant’s products sold in and through its network of physical stores, and

  sign up for an electronic emailer to receive exclusive online offers, benefits, invitations, and

  discounts for use online and in the physical stores, the Website is an extension of, gateway to, and

  necessary service, privilege, and advantage made available from and through the physical stores,

  which are places of public accommodation under the ADA, 42 U.S.C. §12181(7)(E). As such, the

  Website is a necessary service, privilege, and advantage of Defendant’s brick and mortar stores

  that must comply with all requirements of the ADA, must not discriminate against individuals with

  visual disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages afforded to the non-visually disabled

  general public both online and in the physical stores.

          16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and controlling the Website. Since the Website is open to the public through the internet



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  and is connected to Defendant’s physical stores as a point of sale of merchandise from and

  available in Defendant’s network of physical stores, the Website is a necessary service, privilege,

  and advantage of Defendant’s brick and mortar stores that must comply with all requirements of

  the ADA, must not discriminate against individuals with visual disabilities, and must not deny

  those individuals the full and equal access to and enjoyment of the goods, services, privileges, and

  advantages afforded the non-visually disabled public both online and in the physical stores. As

  such, Defendant has subjected itself and the Website to the requirements of the ADA. In addition,

  as a recipient of federal financial assistance to the company as a whole to fund its operations,

  Defendant has subjected itself and all of its operations, including its Website, to the requirements,

  prohibitions, and anti-discrimination provisions of the Rehab Act.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores (including the store located at 401 East Atlantic Avenue, Delray

  Beach, Florida), and to search for the brick and mortar stores, check store hours and merchandise

  pricing, purchase merchandise, and sign up for an electronic emailer to receive exclusive offers,

  benefits, invitations, and discounts for use on the Website and in the physical stores.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise available for

  purchase from and through the physical stores and sign up for an electronic emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use both online and in the physical

  stores from his home are important accommodations for Plaintiff because traveling outside of his

  home as a physically and visually disabled individual is often difficult, hazardous, frightening,

  frustrating and confusing experience. Defendant has not provided its business information in any




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  other digital format that is accessible for use by blind and visually impaired individuals using

  screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits, and to compare merchandise, prices, sales, discounts, and promotions. Plaintiff

  may look at several dozens of sites to compare product features, discounts, promotions, and prices.

         20.     During the month of April, 2021, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise and online offers to plan his store visits,

  and to educate himself as to the merchandise, sales, discounts, and promotions being offered, learn

  about the brick and mortar stores, check store hours, and check pricing of merchandise with the

  intent to making a purchase through the Website or at one of Defendant’s stores.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent its free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Return to homepage link is mislabeled;

                 b. Account button is mislabeled as “link;”

                 c. Submenu inaccessible when navigating with a keyboard; and

                 d. Search mislabeled as “button.”

         22.     The Website also lacks prompting information and accommodations necessary to

  allow blind and visually disabled individuals who use screen reader software to locate and

  accurately fill out online forms to purchase Defendant’s merchandise from the Website.




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         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, goods, sales, discounts, and promotions, as provided on the Website

  and in the physical stores as the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical stores and to use the Website as an

  extension, privilege, and advantage of the physical stores, but he is presently unable to fully do so,

  as he is unable to effectively communicate with Defendant’s physical stores due to his severe

  visual disability and the Website’s access barriers. Thus, Plaintiff, and others who are blind and

  visually disabled, will suffer continuous and ongoing harm from Defendant’s intentional acts,

  omissions, policies, and practices as set forth herein unless properly enjoined by this Court.

         26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s retail stores for its operation and use, and thus is a necessary extension, service,

  privilege, and advantage of Defendant’s brick and mortar stores as a point of sale for the purchase

  of Defendant’s merchandise, the Website must comply with all requirements of the ADA, must

  not discriminate against individuals with disabilities, and must not deny those individuals the same

  full and equal access to and enjoyment of the goods, services, privileges, and advantages as are

  afforded the non-visually disabled public both online and in the physical stores, which are places



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  of public accommodation subject to the requirements of the ADA. In addition, because it is a

  recipient of federal funds for the corporation as a whole and for its operations company-wide, as

  evidenced by Exhibit “A” hereto, Defendant and all of its operations, including but not limited to

  the Website, is also subject to the requirements of the Rehab Act and must not discriminate against

  qualified or otherwise qualified individuals with visual disabilities, such as Plaintiff, in all of its

  “programs and activities” including the Website.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the blind and visually disabled.



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            35.   Defendant has not created and instituted on the Website a page for individuals with

   disabilities, nor displayed a link and information hotline, nor created an information portal

   explaining when and how Defendant will have the Website, applications, and digital assets

   accessible to the visually disabled or blind community.

            36.   The Website presently does not meet nor substantially comply with the Web

   Content Accessibility Guidelines (“WCAG”) 2.0 Level AA or higher versions of web accessibility.

            37.   Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to visually disabled individuals who want the safety

   and privacy of purchasing Defendant’s merchandise offered on the Website online from their

   homes.

            38.   Thus, Defendant has not provided full and equal enjoyment of the services,

   facilities, privileges, advantages, accommodations, programs, and activities provided by and

   through the Website in contravention of the ADA and the Rehab Act.

            39.   Further, public accommodations under the ADA must ensure that their places of

   public accommodation provide effective communication for all members of the general public,

   including individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act,

   public accommodations and companies that receive federal financial assistance must not

   discriminate against disabled persons and are required to make the facilities, programs, or and

   activities they operate fully and readily accessible to persons with disabilities.

            40.   The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping Websites, such as the Website at issue in the instant

   action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that



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   all programs, projects and activities receiving federal assistance " ... be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. §701(c)(3).

          41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with disabilities who are visually

   disabled from the means to comprehend information presented therein.

          42.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

          43.      The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities such as Plaintiff.

          44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with its website access and operation.

          45.     Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

   pursuant to 28 U.S.C. §§2201 and 2202.

          47.     Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                               COUNT I – VIOLATION OF THE ADA

          48.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.




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          49.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s stores,

   acts as a point of sale for Defendant’s network of physical stores by allowing users to purchase

   merchandise that is also available for purchase in the physical stores (but not necessarily in the

   physical store Plaintiff intended to patronize), and allows users to sign up for an electronic emailer

   to receive exclusive online offers, benefits, invitations, and discounts for use both online and in

   the physical stores. The Website thus is an extension of, gateway to, and necessary service,

   privilege, and advantage of Defendant’s physical stores, including the one Plaintiff intended to

   patronize. Further, the Website also serves to augment Defendant’s physical stores by providing

   the public information on the location of the stores and by educating the public as to Defendant’s

   available products sold through the Website and in the physical stores. The Website thus is

   necessary for Plaintiff to fully communicate with Defendant and its physical stores and to enjoy

   and have equal access to all of the goods, services, privileges, and advantages being offered by

   Defendant both online and in its physical stores.

          50.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an

   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          51.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,




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   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          52.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          53.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          54.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied the full and equal enjoyment of and access to the goods, information, and services that

   Defendant has made available to the public on its Website and in its network of physical stores in

   violation of 42 U.S.C. §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

          55.     The Website was subsequently visited by Plaintiff’s expert in April, 2021, and the

   expert determination was that the same access barriers that Plaintiff had initially encountered, as

   well as numerous additional access barriers, existed. Defendant thus has made insufficient material

   changes or improvements to the Website to enable its full use, enjoyment, and accessibility for

   blind and visually disabled persons such as Plaintiff. Defendant also has not disclosed to the public

   any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

   disabled individuals, nor has it posted on the Website a conspicuous and effective “accessibility”

   notice, statement, or policy to provide blind and visually disabled persons, such as Plaintiff, with



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   a viable alternative means to access and navigate the Website. Defendant thus has failed to make

   reasonable modifications in its policies, practices, or procedures when such modifications are

   necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

   individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective

   “accessibility” notice, policy, or statement and the numerous access barriers as set forth in the

   Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite Exhibit “B” and

   the contents of which are incorporated herein by reference, continue to render the Website not

   fully accessible to users who are blind and visually disabled, including Plaintiff.

           56.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           57.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           58.     There are readily available, well established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

           59.     Defendant has violated the ADA – and continues to violate the ADA – by denying

   access to the Website, and hence its connected physical stores, by individuals, such as Plaintiff,




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   with visual disabilities who require the assistance of interface with screen reader software to

   comprehend and access internet websites. These violations within the Website are ongoing.

          60.     The ADA and ADAAA require that public accommodations and places of public

   accommodation ensure that communication is effective.

          61.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          62.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          63.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.

          64.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          65.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website that is an extension, service, privilege, and advantage of, and critical point of

   sale for, Defendant’s brick and mortar stores, Plaintiff has suffered an injury in fact by being denied



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   full access to and enjoyment of the goods, services, privileges and advantages available in, at, and

   through Defendant’s physical stores.

          66.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          67.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with visual disabilities have full and equal enjoyment of and

   access to the goods, services, facilities, privileges, advantages, and accommodations offered in

   Defendant’s physical stores through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being readily accessible, to provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and

          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical stores and becoming informed of and purchasing

   Defendant’s merchandise online, and during that time period prior to the Website’s being designed

   to permit individuals with visual disabilities to effectively communicate, to provide an alternative




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   method for individuals with visual disabilities to effectively communicate for such goods and

   services made available to the general public through the Website and the physical stores.

             68.   Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

                   COUNT II – VIOLATION OF THE REHABILITATION ACT

             69.   Plaintiff re-alleges paragraphs 1 through 47 and 55 through 58 as if set forth fully

   herein.

             70.   As more specifically set forth above, Defendant, as the recipient of federal financial

   assistance to the company as a whole, has violated the Rehab Act by failing to interface the Website

   with screen reader software utilized by blind and visually disabled individuals. Thus, Defendant

   has violated the Rehab Act, either directly or through contractual, licensing, or other arrangements,

   with respect to Plaintiff and other similarly situated blind and visually disabled individuals solely

   by reason of their disability:

             a)    By excluding Plaintiff from participation in, denying him the benefits of, and

   subjecting him to, discrimination under any program or activity receiving federal financial

   assistance, Defendant has violated the Rehab Act;

             b)    Congress enacted the Rehab Act to enforce the policy of the United States that all

   programs, projects, and activities receiving federal assistance "be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. §701(c)(3);




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           c)      Defendant is a recipient of federal financial assistance that provides funding to the

   company and its operations as a whole, bringing it under the Rehab Act, which prohibits

   discrimination against qualified or otherwise qualified individuals in all of the recipient's

   "programs or activities";

           d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

   discriminating against disabled persons and requires that all facilities, programs, or activities

   operated by the federally funded entity be readily accessible to persons with disabilities;

           e)      The Rehab Act defines "program or activity" as all of the operations of the entire

   corporation, partnership, or other private organization, or sole proprietorship as a whole that

   receive and distributes federal financial assistance. Defendant's Website with its content is thus a

   "program or activity" within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A);

           f)      Plaintiff was denied access to the Website solely by reason of his disability. This

   denial of access to Defendant's "program or activity" subjected Plaintiff to discrimination,

   excluded Plaintiff from participation in the program or activity, and denied Plaintiff the benefits

   of the Website, a service available to those persons who are not blind and visually disabled. As of

   this filing, the Website remains inaccessible to qualified or otherwise qualified persons with visual

   disabilities such as Plaintiff;

           g)      The international website standards organization, WC3, has published widely

   accepted guidelines (WCAG 2.0 AA and WCAG 2.1) for making digital content accessible to

   individuals with disabilities.    These guidelines have been endorsed by the United States

   Department of Justice and by the Federal courts and the United States Access Board as being

   applicable to websites; and,




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          h)      Defendant has engaged in unlawful practices in violation of Section 504 of the

   Rehab Act, 29 U.S.C. §794, in the maintenance of the Website. These practices include, but are

   not limited to, denying Plaintiff, an individual with a visual disability who, with or without

   reasonable modifications to the rules, policies, or practices, the removal of communication

   barriers, or the provision of auxiliary aids and services, meets the essential eligibility requirements

   for the receipt of services to participate in programs or activities provided by Defendant.

          71.     Defendant has acted with deliberate indifference to the applicable provisions of the

   Rehab Act as to the unlawful practices described herein because Defendant is, and has been, fully

   aware of the inaccessible features of the Website and has failed to remediate the Website to make

   it equally accessible to persons with visual disabilities, including Plaintiff. Defendant knew that

   harm to a federally protected right was substantially likely yet to occur, yet it failed to act on that

   likelihood when it failed to remediate the Website. Defendant knew this and, on information and

   belief, a person with authority with Defendant to order the remediation of the Website made a

   deliberate choice not to remediate it and to continue to offer the inaccessible Website to its

   customers and potential customers knowing that the Website was, and continues to be, inaccessible

   to the blind and visually disabled.

          72.     Plaintiff would like to be a customer at Defendant's brick and mortar stores but

   before he goes to any of the stores, he would like to determine what is available for his purchasing,

   what promotions are being offered, and what new items are currently available in the stores. In

   that regard, Plaintiff continues to attempt to utilize the Website and plans to continue to utilize the

   Website on a regular basis to make selections for purchasing Defendant’s merchandise online or

   in the physical stores.




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          73.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

   that it would be a futile gesture to attempt to utilize the Website as long as those violations and

   access barriers alleged herein continue to exist, unless he is willing to suffer additional

   discrimination.

          74.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as a direct

   result of the discriminatory conditions present at the Website. By continuing to operate the

   Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

   segregation and deprives Plaintiff the full and equal enjoyment of the benefits of the programs and

   activities available to the general public. By encountering the discriminatory conditions at the

   Website and knowing that it would be a futile gesture to attempt to utilize the Website unless he

   is willing to endure additional discrimination, Plaintiff is deprived of the meaningful choice of

   freely visiting and utilizing the same stores or the Website readily available to the general public

   and is deterred and discouraged from doing so. By maintaining the Website with access barriers

   and Rehab Act violations, Defendant deprives Plaintiff the same equal access and participation in

   and benefits of its programs and activities as the non-visually disabled public.

          75.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

   of Defendant's present and ongoing discrimination until the Defendant is compelled to comply

   with the requirements of the Rehab Act.

          76.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

   from Defendant's noncompliance with the Rehab Act as to the Website as described hereinabove.

   Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

   in violation of the Rehab Act by the Defendant. Plaintiff desires to access the Website to avail

   himself of the benefits thereon and/or to assure himself that the Website is in compliance with the



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   Rehab Act so he and other similarly situated visually disabled persons will have full and equal

   enjoyment of the Website without fear of discrimination.

          77.     Plaintiff, as well as others who are blind and visually disabled seeking to access the

   Website, will continue to suffer such discrimination, injury, and damage without the immediate

   relief provided by the Rehab Act as requested herein.

          78.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

   on the facts alleged hereinabove.

          79.     Plaintiff has retained the undersigned counsel to represent him and is entitled to

   recover his attorney's fees, costs, and litigation expenses from Defendant pursuant to the Rehab

   Act.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A.      A declaration that determines that Defendant's Website at the commencement of

                  the subject lawsuit was in violation of the Rehabilitation Act;

          B.      A declaration that Defendant's Website continues to be in violation of the

                  Rehabilitation Act;

          C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

                  monitor and maintain its Website to ensure that it is readily accessible to and usable

                  by persons with visual disabilities;

          D.      Issuance of an Order directing Defendant, by a date certain, to alter its Website to

                  make it accessible to, and useable by, individuals with visual disabilities to the full

                  extent required by the Rehabilitation Act;




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         E.    Issuance of an Order directing Defendant to evaluate and neutralize its policies and

               procedures towards persons with disabilities for such reasonable time so as to allow

               Defendant to undertake and complete corrective and remedial procedures;

         F.     Issuance of an Order directing Defendant to continually update and maintain its

               Website to ensure that it remains fully accessible to and usable by visually disabled

               individuals;

         G.    Award Plaintiff any and all compensatory damages for Defendant’s deliberate

               indifference to his rights under the Rehabilitation Act;

         H.    Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to the

               Rehabilitation Act; and

         I.    Award such other relief as the Court deems just and proper and is allowable under

               the Rehabilitation Act.

   DATED: June 16, 2021

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